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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

DANA M. MERCHANT                                 *

        Plaintiff                                *

        v.                                       * Civil Action No.: 1:17-cv-2146

DEPARTMENT STORES NATIONAL *
BANK, a subsidiary of Citibank, N.A.
                                     *
    Defendant
                                     *

*       *     *     *    *         *   *         *     *     *     *      *     *


             STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. Proc., Plaintiff, Dana M. Merchant, and

Defendants, by their respective counsel, and stipulate to the dismissal of

this action with Prejudice against all Defendants, with the parties being

responsible for their own costs.

Dated: January 5, 2018

                                               Respectfully Submitted,

/s/ E. David Hoskins                           /s/ Nathan D. Adler (w/permission)
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/s/ Stephen M. DeGenaro (w/permission)       /s/ Jason Christopher Reichlyn (w/
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